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Attorney on behalf of Amicus Curiae

                       UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA



 GROUNDFISH FORUM INC.,
                Plaintiff,
          v.
 NATIONAL MARINE FISHERIES
 SERVICE, et al.,
                Defendants,                  Case No. 3:23-cv-00283-JMK
          and


 CENTRAL BERING SEA
 FISHERMAN’S ASSOCIATION, et
 al.,


                Intervenor-Defendants.

   MOTION OF CORDOVA DISTRICT FISHERMEN UNITED, KODIAK
   ARCHIPELAGO RURAL REGIONAL LEADERSHIP FORUM, PRINCE
        WILLIAM SOUND ECONOMIC DEVELOPMENT DISTRICT, AND
        INDIVIDUALS AVERY AULT, DANIEL DONICH, GREG SUTTER,
RICHARD BALTZER, AND EMILY AULT FOR LEAVE TO FILE A BRIEF AS
                AMICI CURIAE IN SUPPORT OF DEFENDANTS
GROUNDFISH F. V. NAT’L MARINE            1                CASE NO. 3:23-cv-00283-JMK
FISHERIES SERV., ET AL.


         Case 3:23-cv-00283-JMK Document 42 Filed 06/27/24 Page 1 of 45
          Cordova District Fishermen United, Kodiak Archipelago Rural Regional

Leadership Forum, Prince William Sound Economic Development District, and

individuals Avery Ault, Daniel Donich, Greg Sutter, Richard Baltzer, and Emily

Ault (“Amici Curiae”) respectfully move this Court to enter an order allowing Amici

Curiae to file the Brief of Amici Curiae lodged with this motion. 1 Collectively, the

Amici curiae are Alaskan organizations, and individuals, whose economies and

ways of life depend on the Pacific halibut. Amici Curiae’s brief supports Defendants

by addressing the importance of the Pacific halibut stock to coastal Alaskan

communities and individuals.

          “The district court has broad discretion to appoint amici curiae,” and

amicus briefs should normally be allowed “when the amicus has unique

information or perspective that can help the court beyond the help that the

lawyers for the parties are able to provide.” 2

          At issue is in this litigation is Amendment 123, and the bycatch limitations

imposed by Defendants which support a healthy and sustained Pacific halibut




1Exhibit 1.
2Alaska R.R. Corp. v. Flying Crown Subdivision Addition No. 1 & Addition No. 2 Prop.
Owners Ass'n, No. 3:20-CV-00232-JMK, 2021 WL 1112382, at *3 (D. Alaska Mar.
23, 2021) (citations omitted).
    GROUNDFISH F. V. NAT’L MARINE           2                CASE NO. 3:23-cv-00283-JMK
    FISHERIES SERV., ET AL.


           Case 3:23-cv-00283-JMK Document 42 Filed 06/27/24 Page 2 of 45
stock. The Amici Curiae are all impacted by the Pacific halibut fishery. The

prospectives provided by the Amici Curiae are personal and substantial. The brief

lodged with this motion describes the lifestyles of various members of the Pacific

halibut fishing community and hopes to convey an understanding of the

coastwide implications on those community members should Amendment 123 be

vacated. For example, amicus curiae Cordova District Fishermen United is a

membership organization representing the interests of roughly 900 Alaska

commercial fishermen and their individual fishing businesses. Likewise, amicus

curiae Avery Ault is an individual and charter fisherman living in Homer, Alaska.

Avery Ault has worked on halibut charters his entire career, and he relies on a

heathy Pacific halibut stock for his livelihood and well-being.

      Counsel for Amici Curiae contacted attorneys for all parties prior to filing

this motion to request their position. Plaintiffs elect to review this motion and

attached brief and inform of their position through a filed response. The Federal

Defendants take no position. The Intervening Defendants consent to the motion.

      Because the Amici Curiae have unique information and perspectives on the

communal, cultural, and economic impacts of Amendment 123 that can help the

court beyond the help that the lawyers for the parties are able to provide, Amici

GROUNDFISH F. V. NAT’L MARINE            3                CASE NO. 3:23-cv-00283-JMK
FISHERIES SERV., ET AL.


       Case 3:23-cv-00283-JMK Document 42 Filed 06/27/24 Page 3 of 45
Curiae pray the Court grant this motion, allowing them to file the brief attached

hereto.

DATED: June 27, 2024                        INLET LAW, LLC
                                            Amicus Curiae

                                            ___________________________
                                            Ken Ciccoli
                                            Alaska Bar No. 2211118



  DISCLOSURE STATEMENT PURSUANT TO FEDERAL RULE OF CIVIL
                     PROCEDURE 7.1

      Cordova District Fishermen United is a nonprofit corporation organized

under the laws of Alaska and headquartered in Cordova, Alaska. Cordova District

Fishermen United has no parent company; no publicly held company has 10% or

greater ownership interest in Cordova District Fishermen United.

      Kodiak Archipelago Rural Regional Leadership Forum is a consortium and

is not organized under the laws of any state. Kodiak Archipelago Rural Regional

Leadership Forum has no parent company; no publicly held company has 10% or

greater ownership interest in Kodiak Archipelago Rural Regional Leadership

Forum.

      Prince William Sound Economic Development District is a non-profit

corporation organized under the laws of Alaska and headquartered in Cordova,
GROUNDFISH F. V. NAT’L MARINE           4                CASE NO. 3:23-cv-00283-JMK
FISHERIES SERV., ET AL.


          Case 3:23-cv-00283-JMK Document 42 Filed 06/27/24 Page 4 of 45
Alaska. Prince William Sound Economic Development District has no parent

company; no publicly held company has 10% or greater ownership interest in

Prince William Sound Economic Development District.

DATED: June 27, 2024                          INLET LAW, LLC
                                              Amicus Curiae



                                              ___________________________
                                              Ken Ciccoli
                                              Alaska Bar No. 2211118



          CERTIFICATE OF COMPLIANCE WITH LENGTH LIMIT
           AND TYPEFACE AND TYPE-STYLE REQUIREMENTS

   In accordance with Local Civil Rule 7(a), this Amicus Brief, excluding the

sections identified in Local Civil Rule 7.4(a)(4), contains 2,961 words.

   This Amicus Brief complies with the typeface and type-style requirements of

Local Civil Rule 7.5 as because it is typed in 13-point Palatino Linotype font.




DATED: June 27, 2024                          INLET LAW, LLC
                                              Amicus Curiae

                                              ___________________________
                                              Ken Ciccoli
                                              Alaska Bar No. 2211118



GROUNDFISH F. V. NAT’L MARINE             5                CASE NO. 3:23-cv-00283-JMK
FISHERIES SERV., ET AL.


       Case 3:23-cv-00283-JMK Document 42 Filed 06/27/24 Page 5 of 45
                            CERTIFICATE OF SERVICE

      I served a true and correct copy of the foregoing on all parties. This

document was served electronically through the Court’s CM/ECF System.

DATED: June 27, 2024                      INLET LAW, LLC
                                          Amicus Curiae

                                          ___________________________
                                          Ken Ciccoli
                                          Alaska Bar No. 2211118




GROUNDFISH F. V. NAT’L MARINE         6              CASE NO. 3:23-cv-00283-JMK
FISHERIES SERV., ET AL.


       Case 3:23-cv-00283-JMK Document 42 Filed 06/27/24 Page 6 of 45
                                LIST OF EXHIBITS

Exhibit 1: Brief of Amici Curiae, Cordova District Fishermen United, Kodiak
Archipelago Rural Regional Leadership Forum, and Individuals Avery Ault,
Daniel Donich, Greg Sutter, Richard Baltzer, Emily Ault, In Support of Defendants

Exhibit 2: City and Borough of Sitka Resolution No. 2024-13;

Exhibit 3: Petersburg Borough, Alaska Resolution 2024-08;

Exhibit 4: City of Homer, Alaska Resolution 24-073;

Exhibit 5: City of Cordova, Alaska Resolution 06-24-26

Exhibit 6: City of Seldovia, Alaska Resolution 24-39

Exhibit 7: Kodiak Archipelago Rural Regional Leadership Forum Resolution 01-
2024, A Resolution in Support of Amendment 123 to the Fishery Management Plan
(FMP) for Groundfish of the Bering Sea and Aleutian Islands (BSAI) Management
Area

Exhibit 8: City of Adak Resolution 2024-005




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                      UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF ALASKA



 GROUNDFISH FORUM INC.,                     Case No. 3:23-cv-00283-JMK
               Plaintiff,
        v.                                           [PROPOSED] ORDER
 NATIONAL MARINE FISHERIES                          GRANTING LEAVE TO
 SERVICE, et al.,                                    CORDOVA DISTRICT
               Defendants,                   FISHERMEN UNITED, KODIAK
        and                                         ARCHIPELAGO RURAL
                                                    REGIONAL LEADERSHIP
 CENTRAL BERING SEA                             FORUM, PRINCE WILLIAM
 FISHERMAN’S ASSOCIATION, et al.,                    SOUND ECONOMIC
                                            DEVELOPMENT DISTRICT, AND
               Intervenor-Defendants.         INDIVIDUALS AVERY AULT,
                                                    DANIEL DONICH, GREG
                                              SUTTER, RICHARD BALTZER,
                                              AND EMILY AULT TO FILE A
                                              BRIEF AS AMICUS CURIAE IN
                                               SUPPORT OF DEFENDANTS


      The Amici curiae, Cordova District Fishermen United, Kodiak Archipelago

Rural Regional Leadership Forum, Prince William Sound Economic Development

District, and individuals Avery Ault, Daniel Donich, Greg Sutter, Richard Baltzer,

and Emily Ault, have demonstrated their reliance on the Pacific halibut stock and

their unique perspectives which may help this Court in rendering its decision.

GROUNDFISH F. V. NAT’L MARINE     PAGE 1 OF - 2 -         CASE NO. 3:23-cv-00283-JMK
FISHERIES SERV., ET AL.
       Case 3:23-cv-00283-JMK Document 42 Filed 06/27/24 Page 8 of 45
      IT IS THEREFORE ORDERED:

      The Motion of Cordova District Fisherman United, Kodiak Archipelago

Rural Regional Leadership Forum, Prince William Sound Economic Development

District, and individuals Avery Ault, Daniel Donich, Greg Sutter, Richard Baltzer,

Emily Ault for Leave to File a Brief as Amici Curiae in Support of Defendants is

GRANTED.

      Additionally, the brief lodged with the motion is accepted for review by the

Court.




      DATED this ________ day of _____________, 2024, at Anchorage, Alaska.



                                             _________________________________
                                                   JOSHUA M. KINDRED
                                                 United States District Judge




GROUNDFISH F. V. NAT’L MARINE     PAGE 2 OF - 2 -        CASE NO. 3:23-cv-00283-JMK
FISHERIES SERV., ET AL.
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Attorney on behalf of Amici Curiae

                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA

 GROUNDFISH FORUM INC.,
                 Plaintiff,                   Case No. 3:23-cv-00283-JMK
         v.
 NATIONAL MARINE FISHERIES                    BRIEF   OF       AMICI      CURIAE,
 SERVICE, et al.,                             CORDOVA DISTRICT FISHERMEN
                 Defendants,                  UNITED, KODIAK ARCHIPELAGO
         and                                  RURAL REGIONAL LEADERSHIP
                                              FORUM, PRINCE WILLIAM SOUND
 CENTRAL BERING SEA FISHERMAN’S               ECONOMIC            DEVELOPMENT
 ASSOCIATION, et al.,                         DISTRICT,     AND      INDIVIDUALS
                                              AVERY AULT, DANIEL DONICH,
                 Intervenor-Defendants.       GREG        SUTTER,        RICHARD
                                              BALTZER, AND EMILY AULT, IN
                                              SUPPORT OF DEFENDANTS


   BRIEF OF AMICI CURIAE, CORDOVA DISTRICT FISHERMEN UNITED, KODIAK
ARCHIPELAGO RURAL REGIONAL LEADERSHIP FORUM, PRINCE WILLIAM SOUND
 ECONOMIC DEVELOPMENT DISTRICT AND INDIVIDUALS AVERY AULT, DANIEL
    DONICH, GREG SUTTER, RICHARD BALTZER, EMILY AULT, IN SUPPORT OF
                                    DEFENDANTS

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FISHERIES SERV., ET AL, AND CENT.
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 § 679.21(b)(1)(i)(A)-(C) and 50 C.F.R. § 679.91)………………………..…..…...3, 11




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 pacific-halibut-mortality……………………………………………………………..2

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                                                                       45 1 000004
   I.       PREFACE: HALIBUT FISHING IN ALASKA’S WATERS

        It’s 7:15AM, nearly 1,000 miles from the Pacific halibut’s nursery waters,

visibility stretches hundreds of miles and the bay’s surface is still as glass. Captain

Avery of the F/V “Whistler,” looks out on the clouded horizon towards Mt. Saint

Augustine, his deckhands behind him, ready to collect passengers’ fishing

licenses and prep the fishing rods. Avery’s four-year-old son, Gray, snoozes in his

life jacket to the sound of the Whistler’s roaring engines—in the very same place

Avery used to snooze every summer morning when his father captained the

Whistler. And not so much has changed from how it was when Avery’s father ran

things: passengers arrive to the office at 6:30AM; the captain greets and walks

them to the boat; he goes over safety procedures, points out the life vests, the life-

raft, and discusses in-case-of-fire procedures; he starts the Whistler’s engines,

leaves the harbor, and heads out towards the mouth of the bay, towards

Augustine.

        The passengers, mainly non-local tourists, are the same as they’ve always

been, though sometimes a repeat customer, the passengers come from all over the

country and world, hoping to catch some halibut during their often ‘once-in-a-

lifetime’ trip to Alaska. These passengers—tourists—leave a tip not only with the


 GROUNDFISH F. V. NAT’L MARINE            1                 CASE NO. 3:23-cv-00283-JMK
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                                                                     45 1 000005
Whistler’s deckhands, but with bartenders after the fishing trip ends, and with

local restaurants that cook their freshly caught fish. Local processors package

what is left of the tourists’ catch, and tourists spend money at the gift shops, and

local campgrounds, and gas stations, and museums, and it is now, as it has long

been, that summertime fishing tourism drives the economy of Captain Avery’s,

and many other Alaskan coastal towns. 1

          And here in this town, like other communities of the Amici, a drastic change

has taken place since the days when Captain Avery’s dad ran the Whistler: the

halibut are smaller 2 and less abundant. 3 It is not hyperbole to suggest that the

tourism industry that supports Captain Avery’s way of life may not exist to




1Barabara Hutniczak, Assessing cross-regional flows of economic benefits: A case study
of Pacific halibut commercial fishing in Alaska, 255, Fisheries Research (2022)
https://doi.org/10.1016/j.fishres.2022.106449

2 Fishery, Climate, and Ecological Effects on Pacific Halibut Size-at-age, Gordon Kruse,
University     of     Alaska       Fairbanks,      https://www.uaf.edu/cfos/research/
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3  Scientists Report Declines in Pacific Halibut Mortality, NOAA Fisheries,
https://www.fisheries.noaa.gov/ feature-story/scientists-report-declines-pacific-
halibut-mortality


    GROUNDFISH F. V. NAT’L MARINE                           CASE NO. 3:23-cv-00283-JMK
    FISHERIES SERV., ET AL.           2
          Case 3:23-cv-00283-JMK Document 42 Filed 06/27/24 Page 15 ofExhibit
                                                                       45 1 000006
support his son’s. Amendment 123, 4 challenged by Plaintiff, is purposed to

protect the collective futures of the Amici curiae as it relates to this vital resource.

      I.     INTERESTS OF AMICI CURIAE 5

           Cordova District Fishermen United, Kodiak Archipelago Rural Regional

Leadership Forum, and individuals Avery Ault, and Daniel Donich, Greg Sutter,

Richard Baltzer, and Emily Ault (collectively, “Amici curiae”) respectfully submit

this amicus brief in the above-captioned proceeding. Collectively, the Amici curiae

are Alaskan organizations and individuals, whose economies and ways of life

depend on the Pacific halibut. After decades of depletion of the Pacific halibut’s

nursery, 6 Amici curiae, to varying degrees, now rely on the implementation and




4 Fisheries of the Exclusive Economic Zone Off Alaska; Bering Sea and Aleutian
Islands Halibut Abundance Based Management of Amendment 80 Prohibited
Species Catch Limit, 88 Fed., Reg. 82,740, 42 (Nov. 24, 2023) (codified at 50 C.F.R.
§ 679.21(b)(1)(i)(A)-(C) and 50 C.F.R. § 679.91).
5This Amicus brief was authored by the undersigned, without any party’s counsel
in whole, or in part. Neither a party, or a party's counsel contributed money that
was intended to fund preparing or submitting the brief; no person—other than the
amicus curiae, its members, or its counsel—contributed money that was intended
to fund preparing or submitting this Amicus brief.

6Int’l Pac. Halibut Comm’n, Distribution and Abundance of Juvenile Halibut in the
Southern Bering Sea, Scientific Report No. 62, at 4 (1977), (Stating “The southeastern
Bearing Sea is a vast nursey area for halibut. The International Pacific Halibut
Commission (IPHC) has studied the juveniles inhabiting this area since 1963. . .

    GROUNDFISH F. V. NAT’L MARINE                            CASE NO. 3:23-cv-00283-JMK
    FISHERIES SERV., ET AL.            3
           Case 3:23-cv-00283-JMK Document 42 Filed 06/27/24 Page 16 ofExhibit
                                                                        45 1 000007
enforcement of sustainable fishing regulations for protection from the continued

destruction of Amici curiae’s economies and ways of life.

       Amendment 123, approved and implemented by Defendant National

Marine Fisheries Services (“NMFS”) ensures bycatch reductions which provide

Amici Curiae such protection. Plaintiff, a non-profit representing the interests of

five companies and seventeen trawler catcher-processors, seeks to vacate

Amendment 123 and the protections provided by it. As beneficiaries of

Amendment 123, Amici curiae submit this amicus brief in support of Defendants.

       Amicus curiae Cordova District Fishermen United (CDFU) is a membership

organization      representing      the     interests    of     roughly      900     Alaska

commercial fishermen and their individual fishing businesses. The halibut fishery

is vital to CDFU members and non-members who rely on healthy Pacific halibut

stocks in the state waters of Prince William Sound and the federal northern-central

waters of the Gulf of Alaska for their sustained business operations and personal

livelihoods, either as primary business income or as supplemental income to the




The abundance of juveniles varied inversely with the estimates of incidental catch of halibut
by the trawl fishery” (emphasis added)).


 GROUNDFISH F. V. NAT’L MARINE                                  CASE NO. 3:23-cv-00283-JMK
 FISHERIES SERV., ET AL.           4
       Case 3:23-cv-00283-JMK Document 42 Filed 06/27/24 Page 17 ofExhibit
                                                                    45 1 000008
salmon fishing operations which have become increasingly less profitable in recent

years.

         Amicus curiae Kodiak Archipelago Rural Regional Leadership Forum (the

“Forum”) is a consortium of tribal, municipal Alaska Native Corporation and

other leaders from the coastal communities of Akhiok, Kodiak, Larsen Bay, Old

Harbor, Ouzinkie, and Port Lions. Sustainable fisheries are integral to the

continuation of the cultural heritage and economic viability of Forum

communities. Pacific halibut bycatch affects Forum communities because juvenile

halibut cannot migrate from the Bering Sea to benefit the Forum’s Alaska Native

cultural traditions. Among other issues, this causes food insecurity among the

Forum’s communities. Additionally, since Forum members must finance the

purchase of their individual fishing quotas (IFQs), Forum members become unable

to fish and pay back their IFQ loans when the total allowable catch limits for Pacific

halibut are used up and wasted as bycatch. Amendment 123 protects the Forum

by creating an “abundance-based” management system which connects bycatch

limits to Pacific halibut abundance and ensures the Forum’s ability to not only




GROUNDFISH F. V. NAT’L MARINE                              CASE NO. 3:23-cv-00283-JMK
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                                                                      45 1 000009
work and pay back their loans, but to feed themselves through subsistence

fishing. 7

          Amicus curiae Prince William Sound Economic Development District

(PWSEDD) is a federally recognized economic development district serving

Chenega, Cordova, Tatitlek, Valdez, and Whittier, Alaska. PWSEDD has been

representing Prince William Sound (“the Sound”) communities since 1991 and

works to advance implementation of community and regional economic

development priorities for the Sound’s marine economy and its infrastructure,

expand renewable energy capacity and reduce energy costs, expand housing

options, workforce development opportunities, and supports the region’s

business community. PWSEDD facilitates local and regional partnerships, assists

with grant writing and pursues grants, and manages specific projects such as

growing the region’s mariculture capacity in partnership with PWS kelp farmers.

PWSEDD supports those who work with and rely on, and PWSEDD relies on, a

healthy Pacific halibut stock.




7See Exhibit 7, Kodiak Archipelago Rural Regional Leadership Forum Resolution
01-2024, A Resolution in Support of Amendment 123 to the Fishery Management
Plan (FMP) for Groundfish of the Bering Sea and Aleutian Islands (BSAI)
Management Area.

    GROUNDFISH F. V. NAT’L MARINE                        CASE NO. 3:23-cv-00283-JMK
    FISHERIES SERV., ET AL.           6
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                                                                       45 1 000010
      Amicus curiae Daniel Donich is an individual and charter fisherman living

in Homer, Alaska. Daniel Donich is captain of the F/V “THE OPTIMIST” and has

lived in Homer, Alaska since 1988. Daniel Donich relies on a heathy Pacific halibut

stock for his livelihood and well-being.

      Amicus curiae Avery Ault is an individual and charter fisherman living in

Homer, Alaska. Avery Ault is captain of the F/V “Whistler” and has lived in

Homer, Alaska his entire life. Avery Ault has worked on halibut charters his

entire career, and he relies on a heathy Pacific halibut stock for his livelihood and

well-being.

      Amicus curiae Greg Sutter is an individual and charter fisherman living in

Homer, Alaska. Greg Sutter is captain of the F/V “Tomahawk II” and has lived in

Homer, Alaska since 1995. Greg Sutter has been a charter captain since 1978 and

relies on a heathy Pacific halibut stock for his livelihood and well-being.

      Amicus curiae Richard Baltzer is an individual and charter fisherman living

in Homer, Alaska. Richard Baltzer has been an active participant in the

commercial and sport fisheries of South Central and Western Alaska for 50 years.

He believes there are many factors in the population fluctuations of Alaska’s fish,




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                                                                    45 1 000011
but that factory trawlers play an ever-increasing role in this fluctuation and that

Amendment 123 assists in stopping these dangerous fluctuations.

            Amicus curiae Emily Ault is an individual and owner of the tourism

booking company, Inlet Charters. Emily has been an active participant in the sport

fisheries of South Central Alaska for decades. She has lived in Homer, Alaska for

her entire life. Emily Ault relies on a heathy Pacific halibut stock for her livelihood

and well-being.

            Through this amicus brief and the attached resolutions, the amici wish to

share their experiences, highlight the importance of the Pacific halibut on their

economy and ways of life, and encourage this Court to consider the coastwide

benefits that Amendment 123’s halibut bycatch limit provides for Alaskan

communities and individuals.

      II.      BACKGROUND

            The Pacific halibut is a large flatfish which represents one of the

northeastern Pacific Ocean’s most valuable fishery resources. 8 “Identifying




8Timothy Loher and Andrew Seitz, Characterization of Active Spawning Season and
Depth for Eastern Pacific Halibut (Hippoglossus stenolepis), and Evidence of Probable
Skipped Spawning, J. Northw. Atl. Fish. Sci., 41, 23-36 (2008) (discussing spawning
patterns of tagged Pacific halibut).


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                                                                         45 1 000012
spawning behavior in Pacific halibut . . . is particularly challenging because they

occupy a deep, remote environment during the spawning season.” 9 However,

recent meta-analysis suggests Pacific halibut spawn in the Gulf of Alaska, and

“[f]rom spawning grounds in the Gulf of Alaska, eggs and larvae are transported

westward, some crossing Aleutian Island[s] pass[] into the Bering Sea.” 10 Once

there, “[m]ost young halibut spend from five to seven years in rich, shallow

nursey grounds like the Bering Sea.” 11 This is the Pacific halibut’s nursery.

          Even before scientific data could prove that halibut nursed in the Bering

Sea, governmental bodies understood that the species needed management and

protecting. Therefore, the International Pacific Halibut Commission (IPHC) was

formed under a treaty between Canada and the United States. For a century now,

the IPHC understood that “[i]f there were unrestricted fishing, nearly the entire

annual addition might be removed in one year and there might never be much



9Andrew Sietz, Branda Norcross, Derek Wilson, and Jennifer Nielsen, Identifying
Spawning Behavior in Pacific Halibut, Hippoglossus stenolepis, using electronic tags,
Environmental Biology of Fishes, 73, 445-451 (2005).

 See Carpi, et al., Ontogenetic and spawning migration of Pacific halibut: a review,
10

Reviews in Fish Biology and Fisheries, 31, 879-908 (2021).
11Alaska Department of Fish & Game, Pacific Halibut: Wildlife Notebook Series,
(2007).


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    FISHERIES SERV., ET AL.           9
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                                                                       45 1 000013
more on the grounds at any one time than the young which had been added in

that year...” 12 Thus, “if the take of fish should be more than the annual addition,

the stock would quickly decrease again, just as a reservoir of water would empty

if more were taken out than came in.” 13

           The inflow of the Pacific halibut’s reservoir is its nursery—the Bering Sea,

where juveniles reach sexual maturity and become able to replenish the stock. The

Bering Sea is also the place where companies and boats represented by Plaintiff

cast very wide nets, attempting to secure their target fish, but incidentally and yet

systematically they remove millions of pounds of juvenile Pacific halibut

annually 14—before they can reproduce. This incidental catching by the trawling

industry is termed “bycatch.” It is now well understood that the “[m]ortality of

discarded Pacific halibut bycatch . . . in the Bering Sea leads to significant losses




 Report of the International Fisheries Commission, Life History of the Pacific
12


Halibut, vol. 9, at 3 (1936).
13   Id.

14 Alaska Wildlife Alliance, November 18. 2021 Help Reduce Halibut Bycatch,
https://www.akwildlife.org/news/2021/11/17/reducing-halibutbycatch#:~:text=Ab
out%203.3%20million%20pounds%20of,other%20no n%2Dfish%20species) (last
visited June 8, 2024).


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                                                                        45 1 000014
in the halibut setline . . . fisheries.” 15 Amendment 123 deals with this bycatch

problem directly.

     III.     THE REGULATION AND IMPACT

     As explained in the preamble promulgated with Amendment 123, the

Amendment

        establishes a process to set the annual halibut PSC limit [i.e., the
        bycatch limit] for the Amendment 80 sector . . . The halibut PSC limit
        for the Amendment 80 sector is determined annually . . . The halibut
        PSC limits range from 1,745 mt when abundance is characterized as
        ‘‘high’’ for the IPHC index, down to 1,134 mt (35 percent reduction)
        when abundance is characterized as ‘‘very low.’’ 16,

        Recent declines in Pacific halibut stock and associated reductions in halibut

harvest limits have greatly impacted the bottom lines of halibut fishermen and

harmed the communities they support. Because of observable stock declines, it

takes twice as much time and twice the operational costs for vessel and crew to

harvest the same number of halibut as just a few years ago. One of the



15Alderstein, Trumble, Pacific Halibut bycatch in Pacific cod fisheries in the Bering Sea:
an analysis to evaluate area-time management, Journal of Sea Research 39, 153-166
(1998).

16 Fisheries of the Exclusive Economic Zone Off Alaska; Bering Sea and Aleutian
Islands Halibut Abundance Based Management of Amendment 80 Prohibited
Species Catch Limit, 88 Fed., Reg. 82,740, 42 (Nov. 24, 2023) (codified at 50 C.F.R.
§ 679.21(b)(1)(i)(A)-(C) and 50 C.F.R. § 679.91).


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                                                                         45 1 000015
northeastern Pacific Ocean’s most valuable fishery resources is being actively

depleted due to bycatch and the resulting economic impact is drastic: Pacific

halibut fisheries across the state of Alaska will only continue to lose revenue

should this Court vacate Amendment 123.

           The IPHC’s Pacific Halibut Multiregional Economic Impact Assessment

project report finds “that the revenue generated by Pacific halibut at the harvest

stage accounts for only a fraction of economic activity that would be forgone if the

resource was not available to fishers in the Pacific Northwest.” 17 According to the

IPHC, each dollar of commercial halibut landings contribute over four dollars of

economic activity. 18 In the recreational sector alone, every dollar spent by

recreational anglers was linked to 2.3 dollars circulating in the economy. 19

           On average, in 2019, one USD/CAD of Pacific halibut commercial
           landings was linked to over four USD/CAD-worth economic activity
           in Canada and the United States and contributed USD/CAD 1.3 to
           households. In the recreational sector, one USD/CAD spent by
           recreational anglers was linked to USD/CAD 2.3 circulating in the
           economy and USD/CAD 0.7 impact on households. The total


17 Hutniczak, B., Pacific Halibut Multiregional Economic Impact Assessment
(PHMEIA):        project      report,      IPHC-2022-SRB020-09      (2022).
https://www.iphc.int/uploads/pdf/srb/srb020/iphc-2022-srb020-09.pdf
18   Id.

19   Id.


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                                                                        45 1 000016
           economic activity linked to Pacific halibut sectors is estimated at USD
           1,014 mil. (CAD 1,346 mil), and contribution to households at USD
           326 mil. (CAD 432 mil.), highlighting how important Pacific halibut is
           to regional economies. 20

           This “flow of earnings” is “particularly pronounced in Alaska where

substantial flows are identified from harvest location to buyer’s headquarters,

from the landing area to vessel owner residence and quota residence, and from

sport fishing location to Charter Halibut Permit owner residence.” 21 Thus, it is not

only harvesters, but also restaurants, processors, sport fisherman, and many

others who benefit from a healthy Pacific halibut stock. And although the

economic benefits are shared by a wide array of groups, geographically speaking,

the benefits are concentrated: “of direct earnings from Pacific halibut commercial

sectors in Alaska, 70% was retained in Alaska.” 22 As the figure below show, this

drives economies all along the coast of Alaska:




20   Id.
21   Id. at 4.

22   Id.


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                                                                                    23




           Avoiding waste of halibut as bycatch is therefore critically important to

coastal communities across the state. As the attached resolutions passed by coastal

communities and municipalities ranging from Adak to Petersburg show, coastal

communities depend on Amendment 123. 24



23   Id.
24See attached Exhibits 2-7, Petersburg Borough, Alaska Resolution 2024-08; City of
Homer, Alaska Resolution 24-073; City and Borough of Sitka Resolution No. 2024-
13; City of Cordova, Alaska Resolution 06-24-26; City of Seldovia Resolution 24-
39; Kodiak Archipelago Rural Regional Leadership Forum Resolution 01-2024, A
Resolution in Support of Amendment 123 to the Fishery Management Plan (FMP)

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                                                                        45 1 000018
           These resolutions explain that “if successful, the plaintiff’s motion would

impair . . . economic interests through reduced venues, depressed quota values,

increased economic uncertainty, and reduced tax revenues from businesses either

participating in or providing services to the halibut fishery, as the history under

the prior bycatch limits confirms.” 25

           From 2010 to 2020, the Amendment 80 trawling sector was responsible for

over 27 million pounds of halibut mortality. 26 According to the IPHC’s research,

each pound of halibut removal results in between $7.40 and $20.90 dollars in

household economic impacts. 27

           Alaskan coastal communities and those of the Amici make honest livings

off the land and the sea. The Amici have prospered in that they can pass on




for Groundfish of the Bering Sea and Aleutian Islands (BSAI) Management Area;
City of Adak, Resolution 2024-005.
25   Id.

26NMFS & NPFMC, Final Environmental Impact Statement for the Bering Sea and
Aleutian Islands Halibut Abundance-Based Management of Amendment 80 Prohibited
Species Catch Limit. Amendment 123 to the Fishery Management Plan for Groundfish of
the Bering Sea and Aleutian Islands Management Area December 2022, at 250-251, Table
5-16 (2022).
27Hutniczak, B., Pacific Halibut Market Profile. IPHC-2021-ECON-06R01
https://www.iphc.int/uploads/pdf/economics/2021/iphc-2021-econ-06.pdf (2022).

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                                                                        45 1 000019
livelihoods of hard work and sustained yield from this generation to the next, just

as one was passed to them. But the yield is only sustained if limitations on the

annual harvest are there to protect the harvest for years to come. Amendment 123

provides those limitations.

   IV.      CONCLUSION

         This lawsuit is about coastal Alaskan communities and the livelihoods of

the individuals living here. It is about whether Alaskans can continue to access

the halibut they depend upon by establishing responsible limitations on the

largest source of halibut bycatch in the Bering Sea. Amendment 123 is not a tool

for reallocation as Plaintiff suggests, but instead one for preservation.

         The Amici pray this Court find for Defendant and uphold Amendment 123

to protect the Pacific halibut stock and their livelihoods.




DATED: June 27, 2024                          INLET LAW, LLC
                                              Attorney for Amici Curiae

                                              /s/ Ken Ciccoli
                                              Ken Ciccoli
                                              Alaska Bar No. 2211118




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                                                                      45 1 000020
          CERTIFICATE OF COMPLIANCE WITH LENGTH LIMIT
           AND TYPEFACE AND TYPE-STYLE REQUIREMENTS

   In accordance with Local Civil Rule 7(a), this Amicus Brief, excluding the

sections identified in Local Civil Rule 7.4(a)(4), contains 2,961 words.

   This Amicus Brief complies with the typeface and type-style requirements of

Local Civil Rule 7.5 as because it is typed in 13-point Palatino Linotype font.


DATED: June 27, 2024                         INLET LAW, LLC
                                             Attorney for Amici Curiae

                                             /S/ Ken Ciccoli
                                             Ken Ciccoli
                                             Alaska Bar No. 2211118



                            CERTIFICATE OF SERVICE

      I served a true and correct copy of the foregoing on all parties. This

document was served electronically through the Court’s CM/ECF System.




DATED: June 27, 2024                         INLET LAW, LLC
                                             Attorney for Amici Curiae

                                             /s/ Ken Ciccoli
                                             Ken Ciccoli
                                             Alaska Bar No. 2211118


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                                                             45 4 000003
                                     CITY OF CORDOVA, ALASKA
                                        RESOLUTION 06-24-26

 A RESOLUTION OF THE COUNCIL OF THE CITY OF CORDOVA, ALASKA, IN SUPPORT
OF AMENDMENT 123 TO THE FISHERY MANAGEMENT PLAN (FMP) FOR GROUNDFISH
  OF THE BERING SEA AND ALEUTIAN ISLANDS (BSAI) MANAGEMENT AREA WHICH
AMENDS REGULATIONS GOVERNING LIMITS ON THE PACIFIC HALIBUT PROHIBITED
SPECIES CATCH (PSC) AND LINKS THE HALIBUT PSC LIMIT FOR THE AMENDMENT 80
COMMERCIAL GROUNDFISH TRAWL FLEET IN THE BSAI GROUNDFISH FISHERIES TO
                           HALIBUT ABUNDANCE

        WHEREAS, on December 2021, the North Pacific Fishery Management Council (NPFMC)
recommended, and the National Marine Fisheries Service (NMFS) proposed, Amendment 123 (A-123)
which links the halibut PSC limit for the Amendment 80 (A-80) commercial groundfish trawl fleet in the
BSAI groundfish fisheries to halibut abundance thereby intending to minimize halibut PSC to the extent
practicable while achieving optimum yield in the BSAI groundfish fisheries on a continuing basis; and

        WHEREAS, based on a review of the scientific information and consideration of the revised
National Standard guidelines, the NPFMC and NMFS determined that reducing halibut PSC with declining
halibut abundance provides conservation benefits, as defined by the Magnuson-Stevens Act, to the halibut
resource; and

        WHEREAS, linking PSC limits to halibut abundance is more equitable that the prior static PSC
limit because when BSAI halibut abundance declines, a static level of halibut PSC in the Amendment 80
fisheries can represent a greater proportion of total halibut removals in the BSAI, particularly in Area 4CDE,
and can reduce the proportion of halibut available for harvest in directed halibut fisheries; and

      WHEREAS, A-123 provides incentives for the A-80 fleet to minimize halibut mortality at all times,
and may provide indirect benefits to communities that rely on directed fishing for halibut; and

      WHEREAS, the halibut fishery is vital to Cordova’s local economy, its local fishermen and
working families and crews, its social fabric and well-being, and local subsistence users and beneficiaries;
and

       WHEREAS, in order to maximize the benefits of the halibut fishery to Cordova, the City has
invested in infrastructure that supports the community’s local halibut fishermen and families; and

         WHEREAS, the A-123 Final Rule was published on November 23, 2023, subsequent to which on
December 19, 2023, the Groundfish Forum (GFF) in representation of the A-80 groundfish trawl sector
filed a lawsuit in the United States District Court for the District of Alaska requesting that the Court vacate
NMFS’ decision approving A-123 and remanding it to NMFS to address serious errors; and

       WHEREAS, on February 6, 2024, in recognition of the importance of supporting the NPFMC’s
action and NMFS’ implementation of A-123, a group of halibut dependent stakeholders known as the
Halibut Defense Alliance (HDA) moved to intervene in the lawsuit as defendants on the side of NMFS; and

       WHEREAS, on April 26, 2024, the plaintiff, GFF, filed a Motion for Summary Judgment stating
that A-123 is “arbitrary, capricious, and contrary to the law” and requested that it be vacated; and



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                                                                          45 5 000001
        WHEREAS, if successful, the plaintiff’s motion would impair Cordova’s immediate economic
interests through reduced revenues, depressed quota values, increased economic uncertainty, and reduced
tax revenues from businesses either participating in or providing services to the halibut fishery, as the
history under the prior bycatch limits confirms; and

        WHEREAS, such outcome would also impair Cordova’s economic interests in the longer term,
because juvenile halibut taken as bycatch in the BSAI cannot migrate to other areas to support either the
halibut spawning stock or active fisheries there.

         NOW THEREFORE BE IT RESOLVED THAT the City Council of Cordova approves
Resolution 06-24-26 in support of Amendment 123 linking the halibut PSC limit for the Amendment 80
fleet in the BSAI groundfish fisheries to halibut abundance.

                      PASSED AND APPROVED THIS 5th DAY OF JUNE 2024

                                                           ___________________________________
                                                           David Allison, Mayor

                                            ATTEST:
                                                           ___________________________________
                                                           Susan Bourgeois, CMC, City Clerk




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                                                          of 456 000002
                                                      KODIAK ARCHIPELAGO LEADERSHIP INSTITUTE
                                                              Post Office Box 8103* Kodiak, Alaska 99615
                                                                              kodiakleadershipinstitute.org

                                            RESOLUTION 01-2024

 A RESOLUTION IN SUPPORT OF AMENDMENT 123 TO THE FISHERY MANAGEMENT
PLAN (FMP) FOR GROUNDFISH OF THE BERING SEA AND ALEUTIAN ISLANDS (BSAI)
                          MANAGEMENT AREA.

WHEREAS, the Kodiak Archipelago Rural Regional Leadership Forum (the Forum) is a consortium
         of community, tribal, municipal, and ANCSA Corporation leaders from the coastal
         communities of Akhiok, Larsen Bay, Old Harbor, Ouzinkie, Port Lions and Kodiak; and
WHEREAS, WHEREAS, the commercial halibut fishery provides an important component of
         community-based fleets in rural communities to maintain diversified fishing opportunity;
         and

WHEREAS, the rural communities around Kodiak Island are eligible to form Community Quota
         Entities with the ability to purchase individual fishing quota for rural community use and
         have made significant investments in the halibut fishery; and

WHEREAS, the halibut fishery is vital to these rural communities, the local economy, its local
         fishermen and working families and crews, its social fabric and well-being, and local
         subsistence users and beneficiaries; and

WHEREAS, the subsistence halibut fishery is an important and traditional food source which provides
         a healthy protein source, improves food security, supports community well-being and
         supports the cultural values; and

WHEREAS, waste of valuable marine resources such as halibut is counter to traditional values and
         beliefs through Kodiak Island’s rural communities; and

WHEREAS, on December 2021, the North Pacific Fishery Management Council (NPFMC)
         recommended, and the National Marine Fisheries Service (NMFS) proposed,
         Amendment 123 (A-123) which links the halibut PSC limit for the Amendment 80 (A-
         80) commercial groundfish trawl fleet in the BSAI groundfish fisheries to halibut
         abundance thereby intending to minimize halibut PSC to the extent practicable while
         achieving optimum yield in the BSAI groundfish fisheries on a continuing basis; and

WHEREAS, based on a review of the scientific information and consideration of the revised National
         Standard guidelines, the NPFMC and NMFS determined that reducing halibut PSC with
         declining halibut abundance provides conservation benefits, as defined by the Magnuson-
         Stevens Act, to the halibut resource; and

WHEREAS, linking PSC limits to halibut abundance is more equitable that the prior static PSC limit
         because when BSAI halibut abundance declines, a static level of halibut PSC in the
         Amendment 80 fisheries can represent a greater proportion of total halibut removals in




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Resolution 01-2024
Support for Amendment 123 to the Fishery Management Plan
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              the BSAI, particularly in Area 4CDE, and can reduce the proportion of halibut available
              for harvest in directed halibut fisheries; and

WHEREAS, A-123 provides incentives for the A-80 fleet to minimize halibut mortality at all times,
         and may provide indirect benefits to communities that rely on directed fishing for halibut;
         and

WHEREAS, the A-123 Final Rule was published on November 23, 2023, subsequent to which on
         December 19, 2023, the Groundfish Forum (GFF) in representation of the A-80
         groundfish trawl sector filed a lawsuit in the United States District Court for the District
         of Alaska requesting that the Court vacate NMFS’ decision approving A-123 and
         remanding it to NMFS to address serious errors; and

WHEREAS, on February 6, 2024, in recognition of the importance of supporting the NPFMC’s action
         and NMFS’ implementation of A-123, a group of halibut dependent stakeholders known
         as the Halibut Defense Alliance (HDA) moved to intervene in the lawsuit as defendants
         on the side of NMFS; and

WHEREAS, on April 26, 2024, the plaintiff, GFF, filed a Motion for Summary Judgment stating that
         A-123 is “arbitrary, capricious, and contrary to the law” and requested that it be vacated;
         and

WHEREAS, if successful, the plaintiff’s motion would impair Kodiak’s rural communities economic
         and social interests in the longer term, because juvenile halibut taken as bycatch in the
         BSAI cannot migrate to other areas such as the Gulf of Alaska to support either the halibut
         spawning stock or active fisheries there.


NOW THEREFORE, BE IT RESOLVED, that the Kodiak Archipelago Rural Regional Leadership
Forum supports Amendment 123 linking the halibut PSC limit for the Amendment 80 fleet in the BSAI
groundfish fisheries to halibut abundance.


PASSED AND ADOPTED this 17th day of June, 2024, by 26 participating members of the Kodiak
Archipelago Rural Regional Leadership Forum.

IN WITNESS THERETO:



_____________________________________
Roberta Townsend Vennel
Forum Facilitator




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